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                    EXHIBIT H
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Sennott Williams
& Rogers, llp
ATTORNEYS AND COUNSELORS AT LAW




     July 10,2018

      VIA: FEDERAL EXPRESS AND EMAIL ricohen@cohenblg.com)

      Jeffrey A. Cohen
      Cohen Business Law Group, P.C.
      10990 Wilshire Blvd., Suite 1025
      Los Angeles, CA 90024


        ^SETTLEMENT COMMUNICATION SUBJECT TO FED. R. EVID. 408 and MASS. R.
                                EVID. 408***


             Re:     Dawn Borland Copyright Claim

      Mr. Cohen,

      We represent the Boston Book Festival (“BBF”), a non-profit corporation that operates, among
      other events and programs, the One City One Story program (“1C1S”). We are in receipt of your
      letter on behalf of Dawn Borland (“Borland”) dated July 3,2018 and addressed to the BBF.
      As your letter notes, the BBF has been in discussions with Borland concerning the BBF’s
      intention to publish a short story authored by Sonya Larson entitled “The Kindest” as part of this
      year’s 1C1S program. Borland has asserted, and you have repeated in your letter, a claim that a
      small portion of the original version of “The Kindest,” as published in American Short Fiction
      (Volume 20, Issue 65, Summer 2017), infringed the copyright in a letter (the “Borland Letter”)
      purportedly written and owned by Borland. As a result of these discussions with Borland, and
      out of an abundance of caution, the allegedly infringing section of “The Kindest” was edited.
      In your letter, you acknowledge that you have not had a chance to review that edited version. In
      the hopes of bringing this matter to a swift conclusion, I have enclosed herewith the edited
      version of the relevant section of “The Kindest” as it appears in the current printer’s proof. I'm
      sure you will agree that this revised version is clearly not an infringement of any copyright rights
      your client may have in the Borland Letter.




                   90 Canal Street | Boston, MA 021 14 | Phone 617-303-1651 | www.sennottwilliams.com
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While the BBF is confident that your client will have no legitimate legal claim against the BBF
for its publication of this revised version of “The Kindest,” it remains interested in amicably
resolving this matter, if possible. Accordingly, in exchange for a complete release of claims, the
BBF will add the following acknowledgement to its publication of the revised version of “The
Kindest”:

       "This story appears in an alteredform from its first publication in American Short
       Fiction. The Boston Book Festival thanks Dawn Borland, a living kidney donor, for her
       involvement in this publication. ”

The BBF has a strict print deadline of Friday, July 13,2018. Accordingly, we will need your
client’s assent to the above terms by no later than Thursday, July 12.2018 in order to include
the proposed acknowledgement.

We do not see a need to specifically address the remainder of your letter, but our silence in this
regard should not be read as acceptance of, or agreement with, any of the claims or assertions
made therein. We hereby reserve all of our client’s rights in law or in equity, or both.



                                                      Sincerely,




                                                        %J<U50
                                                      Paul S. Sennott




cc: Norah Piehl, Deputy Director, Boston Book Festival

(enclosure)
cushion, thumbing the grooves of dragon tails that curled                I shook open the letter. Six whole daisy pages. Stuff about
down the armrests. Suddenly the chair seemed too big for              her surgery, the prep, the FT It went on.
me, too grand. But that was ridiculous—when Grandmah
was alive she would fair nil over this thing. I scooched my              Vm so gmtcjnl to the MGH transplant team, who held my
butt, got comfy Bao folded up the wheelchair. To the curb             hand from my hand from very first blood test. J myself know
wenr the crutches, the walker, both canes. We could have              something ofsoffering, but from those experiences ive learned
recycled them or given them away, but we liked watching               courage and perseverance. Whatever you ve endured, remember
the garbage men hurl them into the truck, those grimy walls           that you are never alone.
descending to slurp them up for good.                                    A few things about me: l like sailing, camping, jewelry, and cats.
    Right about then is when the letter shows up.                        My journey to you has entailed immense time, money, and'
    Bao was at work. It was a sunny, ignorant day.                    yes—pain. But throughout it all I found a profound sense oj
                                                                                     nnv      murMjk depended on my ftji.
    It came in the mailbox: real envelope and paper and gold
sticker sealing the flap. It was wrapped in a second letter
from the surgeon himself, his boxy handwriting rushed with               I stared at the YOUR LIFE, underlined three times.
loops of fervor. So awestruck was he by the selflessness that
he just had to chaperone the missive himself. I looked at his            Now I smile at the thought that you are enjoying renewed
letter. I thought that doctors couldn't write at all, not even        health. 1 hope—with all my heart—that you feel emboldened
their own names.                                                      with a new sense ofhope.
   Then came hers. She had used a notepad shaped like a                  Naturally, lam curious about your healing, and perspective
daisy. Blue gel pen.                                                  on our shared experience. Perhaps we could meet. Ifyou'd
                                                                      rather not, that’s fine, but I'll leave my number here regardless.
Dear Friend,                                                          Consider it token of my affection-- a lifeline, should you ever
   By now you are likely wonderingjust who this person—your           need reminding that you are loved.
                                                                                                                   Kindly,
kidney donor—could possibly be. Today I reach out to share a
                                                                                                                   Rose M. Rothario
warm hello. It is me.
   I am a thirty-eight-year-old white female, and J live in
Newton, Massachusetts (horn and raised). Last year, while lost        There was a photograph. She was talk slender, a bursting
in a difficult period, I sa w a documentary about altruistic kidney   ponytail harnessed to one side. Scissors had cut away the
donation. As the credits wiled, Ifelt shocked by the daily hardship   image near her shoulder as if to remove a person who'd been
ofso many people in need. Equipped with this new awareness,           standing beside her. I held it to my nose but it just smelled
l set forth on a journey to offer a great gift, to do my pan in       like a photograph: paper and faint glue, with no whiff of a
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bettering a fellow humans life.                                       particular person. She was ar some county fair. She was around

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